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                                 7   [Additional Counsel Appear on Signature Page]

                                 8                               UNITED STATES DISTRICT COURT
                                 9         NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
                                10   VINCENT D. MULLINS, individually and          Case No.: C-13-01271 RS
                                     on behalf of all others similarly situated,
 BLOOD HURST & O’REARDON, LLP




                                11                                                 JOINT STIPULATION AND [PROPOSED]
                                                    Plaintiff,                     ORDER CONTINUING PRETRIAL
                                12                                                 DEADLINES
                                            v.
                                13                                                 CLASS ACTION
                                     PREMIER NUTRITION CORPORATION
                                14   f/k/a JOINT JUICE, INC.,                      JURY TRIAL DEMANDED
                                15                  Defendant.                     Judge:       Honorable Richard Seeborg
                                                                                   Courtroom:   Courtroom 3, 17th Floor
                                16
                                                                                   Complaint Filed: March 21, 2013
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                                                                                                           Case No. C-13-01271 RS
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                                 1           Pursuant to Local Rule 6-1 and 6-2, Plaintiff Kathie Sonner (“Plaintiff”), and

                                 2   Defendant Premier Nutrition Corporation (“Defendant”), through their respective counsel of

                                 3   record (collectively, “the Parties”), hereby stipulate and agree, subject to the Court’s approval,

                                 4   as follows:

                                 5           The Parties previously informed the Court that they agreed to renew settlement

                                 6   discussions with the Hon. Carl J. West (Ret.) at JAMS. (See Dkt. 71.) The Parties participated

                                 7   in mediation on April 9, 2015, but were not able to settle this action at this time. As a result,

                                 8   the next step is to complete expert discovery and then brief motions for summary judgment

                                 9   and class certification. The Parties have met and conferred, started to exchange potential dates

                                10   for depositions of the six experts at issue, and have agreed on the proposed pretrial deadlines
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                                11   set forth below. This request is made in good faith because the availability of experts for

                                12   deposition does not make it possible to meet the current June 9, 2015, expert discovery

                                13   deadline, and the August 7, 2015, deadline to file opening memoranda in support of motions

                                14   for summary judgment and class certification. (See Dkt. 72 (Order Extending Deadlines).)

                                15           If this request is granted it will be the fifth extension of case deadlines granted by the

                                16   Court. The first extension was in connection with a stay of the case for an early mediation that
                                17   proved unsuccessful, the second extension was requested because the parties were unable to

                                18   schedule key party depositions prior to discovery deadlines, the third extension was in

                                19   connection with Plaintiff’s request to substitute the named plaintiff, and the fourth extension

                                20   was in connection with the most recent mediation effort, which followed the parties’ exchange

                                21   of expert reports. If this extension is granted it will not affect any trial dates as no date has

                                22   been set for trial.

                                23           Further, the Court has currently scheduled a case management conference for April 23,

                                24   2015. at 10:00 a.m. (See Dkt. 72.) The Parties have met and conferred and do not believe there

                                25   is an urgent need for a CMC at this time. The Parties are working cooperatively to schedule

                                26   expert depositions and have agreed on a proposed schedule to brief class certification and
                                27   summary judgment. Accordingly, if the Court desires, the CMC set for April 23, 2015, may

                                28   be taken off calendar.
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                                 1          NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Parties,

                                 2   through their respective counsel and subject to the Court’s approval, that:

                                 3          1)      the deadline for the Parties to complete expert discovery is extended to July 31,

                                 4                  2015;

                                 5          2)      the deadline for the Parties to file opening memoranda in support of motions for

                                 6                  summary judgment and class certification is extended to October 2, 2015;

                                 7          3)      the deadline for the Parties to file memoranda in opposition to motions for

                                 8                  summary judgment and class certification is November 6, 2015;

                                 9          4)      the deadline for the Parties to file reply memoranda in support of motions for

                                10                  summary judgment and class certification is December 11, 2015;
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                                11          5)      hearing on the motions for summary judgment and class certification will take

                                12                            November 19
                                                    place on ___________________,    1:30 pm and
                                                                                  at __________;

                                13          6)      the case management conference scheduled for April 23, 2015, at 10:00 a.m. is

                                14                  taken off calendar.

                                15          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                                16   Dated: April 16, 2015                          BLOOD HURST & O’REARDON, LLP
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                                17                                                  THOMAS J. O’REARDON II (247952)

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                                                                      2                 Case No. C-13-01271 RS
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                                11   Dated: April 16, 2015               VENABLE LLP
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                                 1
                                                                       ECF CERTIFICATION
                                 2
                                            The filing attorney attests that he has obtained concurrence regarding the filing of this
                                 3
                                     document from the signatories to this document.
                                 4
                                     Dated: April 16, 2015                        BLOOD HURST & O’REARDON, LLP
                                 5

                                 6                                                By:           s/ Timothy G. Blood
                                                                                               TIMOTHY G. BLOOD
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 BLOOD HURST & O’REARDON, LLP




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                                 1                                   [PROPOSED] ORDER
                                 2          Having reviewed the above Stipulation and Proposed Order Continuing Pretrial

                                 3   Deadlines, IT IS HEREBY ORDERED that the Court finds that good cause exists for the entry

                                 4   of this Order.

                                 5          IT IS SO ORDERED.

                                 6           4/16/15
                                     DATED: ___________________

                                 7                                           THE HONORABLE RICHARD SEEBORG
                                                                            UNITED STATES DISTRICT COURT JUDGE
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 BLOOD HURST & O’REARDON, LLP




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